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                               No. 23-10326

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT

    BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN SCOTT KELLEY; KELLEY
      ORTHODONTICS; ASHLEY MAXWELL; ZACH MAXWELL; JOEL STARNES,
                                           Plaintiffs-Appellees/Cross-Appellants,
                     JOEL MILLER; GREGORY SCHEIDEMAN,
                                           Plaintiffs–Cross-Appellants
                                      v.
XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES,
       in his official capacity as Secretary of Health and Human Services;
  UNITED STATES OF AMERICA; JANET YELLEN, SECRETARY, U.S. DEPARTMENT OF
  TREASURY, in her official capacity as Secretary of the Treasury; JULIE A. SU,
   ACTING SECRETARY, U.S. DEPARTMENT OF LABOR, in her official capacity as
                                 Secretary of Labor,
                                           Defendants-Appellants/Cross-
                                           Appellees.

                On Appeal from the United States District Court
    for the Northern District of Texas, No. 20-cv-283, Hon. Reed O’Connor

    FEDERAL DEFENDANTS’ RESPONSE AND REPLY BRIEF

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              CERTIFICATE OF INTERESTED PERSONS

      A certificate of interested persons is not required, as appellants are

the United States and federal officials sued in their official capacities. Fifth

Cir. R. 28.2.1.
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        INTRODUCTION AND SUMMARY OF ARGUMENT

      I. Our opening brief explained that the Secretary of Health and

Human Services (HHS) has statutory authority to appoint members of the

U.S. Preventive Services Task Force (Task Force) and was in the process of

doing so. The Secretary formally made those appointments on June 28,

2023. HHS, Ratification of Prior Appointment and Prospective

Appointment, https://perma.cc/8TAA-7AMN. The Secretary thus accepted

the political accountability that the Appointments Clause is designed to

promote. The district court correctly recognized that no statute limits the

Secretary’s authority to remove Task Force members. ROA.1807-1809.

And as our opening brief explained, the Secretary ratified the Task Force’s

past recommendations.

      Plaintiffs strain to read statutory text in ways that would create

Appointments Clause or other separation-of-powers problems. But as

plaintiffs themselves emphasized, “federal statutes must be interpreted in a

manner that will avoid serious constitutional questions.” ROA.235, ¶ 79.

Plaintiffs all but concede that this Court’s precedents in Willy v.

Administrative Review Board, 423 F.3d 483, 491-92 (5th Cir. 2005) and

Kennedy v. United States, 146 F.2d 26, 28 (5th Cir. 1944), establish that the

Secretary has broad authority to appoint inferior officers under multiple
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statutes. And plaintiffs identify no precedent to support their theory that

an officer appointed by and removable at will by a Department Head must

nevertheless be considered a principal officer.

      Plaintiffs insist that the Task Force must be composed of principal

officers because Congress described them as “independent” and “to the

extent practicable, not subject to political pressure.” 42 U.S.C. § 299b-

4(a)(6). But many inferior officers within the Executive Branch are

expected to make independent decisions detached from politics. It would

be deeply concerning if, for instance, an immigration judge’s removal

decision were subject to political pressure or not independently made. The

fact that such inferior officers are “required * * * to exercise [their] own

judgment,” United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260,

266-67 (1954), does not render them principal officers outside the Attorney

General’s control. And as our opening brief explained, if constitutionally

necessary, the statutory scheme can be construed to allow the Secretary to

reject Task Force recommendations before they result in any coverage

requirement. Because the Task Force is subordinate to the Secretary, the

Secretary may properly ratify its recommendations.

      II. Assuming that the “independent” provision is constitutionally

problematic, however, the remedy is to sever the portion of the statute



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necessary to eliminate the problem, as the Supreme Court did in United

States v. Arthrex, Inc., 141 S. Ct. 1970 (2021). Plaintiffs’ assertion that the

Supreme Court alone has the power to declare a provision severable, see

Pls. Br. 44-45, rests on a basic misunderstanding of the Declaratory

Judgment Act, which allows any court to declare that a challenged

provision is severable. And this Court has employed severance when

appropriate. See, e.g., United States v. Bonilla-Romero, 984 F.3d 414, 418-

19 (5th Cir. 2020).

      III. At a minimum, the district court’s universal remedies must be

reversed. The Supreme Court has repeatedly instructed that relief “must be

‘limited to the inadequacy that produced [the] injury in fact,’” Gill v.

Whitford, 138 S. Ct. 1916, 1930 (2018), and may not be ‘‘more burdensome

than necessary to redress the complaining parties,’’ Califano v. Yamasaki,

442 U.S. 682, 702 (1979). The equities weigh decisively in favor of

permitting the 150 million Americans who are not parties to this suit to

continue receiving coverage of preventive services without cost-sharing

under 42 U.S.C. § 300gg-13(a)(1), as Congress directed. As leading public

health organizations and scholars have explained in their amicus briefs,

these preventive services are crucial and often life-saving. Plaintiffs’

insistence that the Administrative Procedure Act (APA) gave the district



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court no choice but to enter a universal remedy, see Pls. Br. 53-54, is

foreclosed by this Court’s precedents and ignores bedrock considerations of

equity. In any event, plaintiffs concede that they abandoned in district

court the sole APA claim that they had originally pled below. See Pls.

Br. 50.

      IV. In their cross-appeal, plaintiffs mistakenly argue that the

Secretary lacked authority to ratify the preventive services

recommendations made by the Centers for Disease Control and Prevention

(CDC) and the Health Resources and Services Administration (HRSA). As

the district court correctly explained, those subagencies act “under the

supervision and direction of the Secretary,” 42 U.S.C. § 202, and the

Secretary may appropriately ratify their actions, ROA.1793-1797. Plaintiffs

raise no separate challenge to the appointments of the CDC Director or the

HRSA Administrator, both of whom properly serve as inferior officers

appointed by the Secretary. The district court also correctly rejected

plaintiffs’ nondelegation claim, ROA.1810-1815, and plaintiffs concede that

their nondelegation claim is “foreclosed by Big Time Vapes, Inc. v. FDA,

963 F.3d 436 (5th Cir. 2020).” Pls. Br. 60. Accordingly, plaintiffs’ cross-

appeal provides no basis to overturn those challenged aspects of the district

court’s judgment.



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                                ARGUMENT

I.    TASK FORCE MEMBERS ARE INFERIOR OFFICERS

      Task Force members hold positions established by federal law and

they “exercis[e] significant authority on behalf of the United States,”

Edmond v. United States, 520 U.S. 651, 662 (1997), to the extent that their

recommendations are given binding legal effect under 42 U.S.C. § 300gg-

13(a)(1). Thus, as the district court held, they are officers for purposes of

the Appointments Clause. U.S. Const. art. II, § 2, cl. 2. And under that

Clause, they are inferior officers: Congress has permitted their

appointment by the Secretary as the Head of a Department, and the

Secretary may supervise the Task Force’s exercise of constitutionally

significant authority through removal. That is sufficient to correct the error

identified by the district court; if more supervision were constitutionally

necessary, the statutory scheme can also allow for the Secretary’s

substantive review of whether the Task Force’s recommendations should be

given binding legal effect under federal law.

      A.    The Secretary Has Statutory Authority To Appoint
            Task Force Members

      As explained in our opening brief (at 30-35) the Secretary is

authorized by multiple statutes to appoint the Task Force members.




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            1.    HHS’s Reorganization Plan

      Under HHS’s Reorganization Plan No. 3 of 1966, the Secretary “may

from time to time make such provisions as he shall deem appropriate

authorizing the performance of any of the functions transferred to him,”

including “all functions of the Public Health Service,” “by any officer,

employee, or agency of the Public Health Service or” HHS. 80 Stat. 1610,

1610 (1966). This Court held that materially identical language in the

Department of Labor’s reorganization plan “vests the Secretary with ample

authority” to both create offices and appoint inferior officers. Willy v.

Administrative Review Board, 423 F.3d 483, 491-92 (5th Cir. 2005) (citing

the Secretary’s authority to “from time to time make such provisions as he

shall deem appropriate authorizing the performance by any other officer, or

by any agency or employee, of the Department of Labor of any function of

the Secretary”). Willy held that under the Reorganization Plan (as well as

the general rulemaking and delegation authority common to all federal

agencies in 5 U.S.C. § 301), “the Secretary possesses the requisite

congressional authority to appoint” inferior officers who may “issue final

agency decisions.” Willy, 423 F.3d at 491.

      Plaintiffs urge this Court to read Willy “as narrowly as possible.” Pls.

Br. 34. But this Court does not read its precedents regarding appointment



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and removal as “limited to [their] facts,” but rather applies their principles

as appropriate to similar statutory provisions. Exela Enterprise Solutions,

Inc. v. NLRB, 32 F.4th 436, 442-43 (5th Cir. 2022) (rejecting a similar

argument to unjustifiably restrict applicable precedent). And, in any event,

plaintiffs’ proffered grounds for distinguishing Willy are without merit.

      First, plaintiffs mistakenly contend (at 36) that Willy does not apply

because 42 U.S.C. § 299b-4(a)(1) directs that the Task Force should be

solely appointed by another inferior officer within HHS (the Director of the

Agency for Healthcare Research and Quality). In other words, plaintiffs

contend that the Secretary lacks authority to appoint the Task Force

because § 299b-4(a)(1) should be read to vest unconstitutional

appointment authority in someone who is not the Head of a Department.

Cf. U.S. Const. art. II, § 2, cl. 2. The Supreme Court rejected exactly this

kind of backwards argument in Edmond, 520 U.S. at 655-58. Although the

Secretary in Edmond had general authority to appoint officers, id. at 656,

the petitioners argued that a statute vested in an inferior officer the

exclusive authority to appoint military judges for the Coast Guard, id. at

656-57. The Supreme Court declined to read the statute that way, as

“Congress could not give the” inferior officer appointment power, which

“can be conferred only upon the President, department heads, and courts of



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law.” Id. at 658. So too here, there is no reason to interpret § 299b-4(a)(1)

“in a manner that would render it clearly unconstitutional,” when the

Secretary would otherwise have constitutional appointment authority.

Edmond, 520 U.S. at 658.

      Plaintiffs next argue (at 36) that the Reorganization Plan is

inapplicable because the Secretary had not previously appointed the Task

Force. But the Secretary in Edmond had also previously failed to personally

appoint the civilians who served as the Coast Guard’s military judges. It

was only after Appointments Clause challenges had arisen in litigation that

the Secretary “issued a memorandum ‘adopting’” the previous

unconstitutional appointments “as judicial appointments of my own.”

Edmond, 520 U.S. at 654. The Supreme Court held those appointments

valid and did not suggest that the Secretary’s appointment authority was

somehow lacking because the judges had not been appointed sooner.

      Plaintiffs’ final assertion is that the Reorganization Plan only

authorizes Secretarial appointments to positions which already existed, and

since the Task Force did not exist at the time of the Plan, the Secretary lacks

appointment authority. Pls. Br. 37. But plaintiffs’ theory would have

caused Willy to come out the other way. In Willy, the Secretary of Labor

relied on a Reorganization Plan from 1950 for his authority to both create



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the Administrative Review Board and appoint its members in 1996. 423

F.3d at 491. Under plaintiffs’ theory, since the Board “did not exist at the

time” of the Reorganization Plan, this Court should have held that the

Secretary of Labor “cannot claim that” the Plan “‘vests’ the Secretary with

powers over the [Board] in any way.” Pls. Br. 37. But this Court held to the

contrary, readily determining “that the Secretary possesses the requisite

congressional authority to appoint members to the” Board. Willy, 423 F.3d

at 491; accord Varnadore v. Secretary of Labor, 141 F.3d 625, 631 (6th Cir.

1998) (holding that the Reorganization Plan, 5 U.S.C. app. at 1496 (1994),

grants the Secretary “authority to appoint inferior officers”).

            2.    42 U.S.C. §§ 299 and 299b-4

      Congress’s statutory placement of the Task Force within the Public

Health Service also authorizes the Secretary to appoint its members. The

Secretary “shall carry out” various statutory duties in the Public Health

Service through the Director of the Agency for Healthcare Research and

Quality, whom the Secretary appoints. 42 U.S.C. § 299(a). Those duties

include the authority to “convene” the Task Force, which shall be

“composed of individuals with appropriate expertise.” Id. § 299b-4(a)(1).

Thus, the Director may initially select members for the Task Force and they

may be appointed with the Secretary’s approval. That is the same system of



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constitutional appointment that the Supreme Court approved in United

States v. Hartwell, 73 U.S. 385, 393-94 (1867), which permitted an

assistant treasurer to appoint a clerk as an inferior officer with the

Secretary’s approval.

      And this Court in Kennedy v. United States, 146 F.2d 26 (5th Cir.

1944), held that the plaintiff was an “officer[] of the United States,” id. at

27, by applying the Appointments Clause framework from Hartwell and

other cases. Thus, the plaintiff was “appointed by a subordinate executive

officer * * * with the approval of the Secretary of the War Department,

acting pursuant to Acts of Congress,” in the same manner that other officers

had been appointed “within the constitutional meaning of that term.” Id. at

28 (footnote omitted). Plaintiffs do not meaningfully attempt to

distinguish Kennedy, Br. 33 n.12, and do not engage with this Court’s

lengthy analysis of the Appointments Clause and the proper method of

appointment under a number of statutes—including the statutes cited by

the Court as providing the Secretary of War with appointment authority

even though neither statute explicitly authorizes the Secretary to “appoint”

anyone. Kennedy, 146 F.2d at 28 & n.2 (first citing Military Appropriation

Act, 1943, ch. 477, Pub. L. No. 77-649, 56 Stat. 611, 619 (1942), and then




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citing Military Appropriation Act, 1944, ch. 185, Pub. L. No. 78-108, 57

Stat. 347, 356 (1943)).

      Plaintiffs mistakenly contend (at 27) that a statute must use the word

“appoint” to comport with the Appointments Clause. But “the Constitution

affords Congress substantial discretion to fashion appointments within the

specified constraints,” and “Article II does not require that a law specifically

provide for the appointment of a particular inferior officer.” Willy, 423

F.3d at 491 (quotation marks omitted). Indeed, plaintiffs do not assert that

any of the statutes in Willy or Kennedy used the term “appoint,” yet

through those statutes Congress was able to constitutionally convey

appointment authority to a Department Head. Nor is the term “appoint” an

indispensable incantation. At the Founding, the term “appoint” was

synonymous with the terms “allot, assign, or designate,” NLRB v. SW

General, Inc., 580 U.S. 288, 312 (2017) (Thomas, J., concurring),

demonstrating the broad nature of the word and that different terms can

convey identical authority. All that is constitutionally required is ultimate

approval by the Department Head as Congress may permit. The Secretary

may thus “administer[] the statute to require and make such approvals,”

which “would satisfy the constitutional requirement that a competent

appointing official retain ultimate authority to approve” all appointments to



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and removals from the Task Force. Appointment and Removal of Federal

Reserve Bank Members of the Federal Open Market Committee, 43 Op.

O.L.C. __, 2019 WL 11594453, at *14 (Oct. 23, 2019) (Federal Reserve OLC

Opinion).

      Plaintiffs’ theory of strict construction would also have broad and

unwarranted ramifications. For example, there is “[n]o statute” that

“governs the appointment of” officers within the Board of Immigration

Appeals, who adjudicate administrative appeals in removal cases. Duenas

v. Garland, 78 F.4th 1069, 1073 n.2 (9th Cir. 2023). But the absence of an

explicit directive to “appoint” such inferior officers does not mean that their

appointments are unconstitutional. To the contrary, Congress’s general

instruction that the Executive Office for Immigration Review (which

contains the Board of Immigration Appeals) “shall be subject to the

direction and regulation of the Attorney General,” 6 U.S.C. § 521, is

sufficient authority to “vest[] the power to appoint the BIA’s members in

the Attorney General.” Duenas, 78 F.4th at 1073 n.2 (citing 6 U.S.C. § 521).

So too, the Reorganization Plan and other statutes here vest the Secretary

with authority to appoint the Task Force members. And the Task Force’s

appointment “helps to ‘ensure’” that both the Secretary and the Task Force

are “accountable to political force and the will of the people.” Financial



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Oversight & Management Board for Puerto Rico v. Aurelius Investment,

LLC, 140 S. Ct. 1649, 1657 (2020); accord Duenas, 78 F.4th at 1071

(appointments “mak[e] clear to the people who is responsible for good—

and bad—appointees”).

      Plaintiffs suggest (at 31) that the Secretary cannot have appointment

authority under 42 U.S.C. §§ 299 and 299b-4 because they are different

sections of the U.S. Code. But Congress enacted both provisions

simultaneously in passing the Healthcare Research and Quality Act of 1999,

Pub L. No. 106-129, 113 Stat. 1653, 1653, 1659, and with the understanding

that the Secretary is vested with authority to perform “all functions of the

Public Health Service,” 80 Stat. at 1610. Nothing about the statutory text,

context, and history indicates that Congress intended to diminish the

Secretary’s authority or to withhold something from it.

      Plaintiffs also argue that to the extent § 299b-4(a)(1) prescribes for

the Task Force’s appointment, it is unconstitutional because it vests the

appointment in an inferior officer. Pls. Br. 29-30. But so too did the

statute the Supreme Court approved in Hartwell, 73 U.S. at 393-94. That

statute authorized the “assistant treasurer of the United States at Boston

* * * to appoint” a clerk. Act of July 23, 1866, ch. 208, 14 Stat. 191, 202.

Under plaintiffs’ theory, that would have been an unconstitutional



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appointment. But because Congress also allowed the Secretary to approve

of that appointment, id., Congress thus provided for the clerk to be

“appointed by the head of a department,” Hartwell, 73 U.S. at 393-94.

      B.    Task Force Members Are Constitutionally Subordinate
            To The Secretary, Who May Ratify Their
            Recommendations

            1.    The Secretary May Remove Task Force Members
                  At Will

      The district court correctly held that Task Force members are

removable at will and “do not have statutory tenure.” ROA.1809. As the

Supreme Court has long recognized, unless there is a “specific provision to

the contrary, the power of removal from office is incident to the power of

appointment.” Keim v. United States, 177 U.S. 290, 293 (1900). Here,

there are no provisions limiting the Secretary’s authority to remove the

Task Force members he has appointed. Plaintiffs wrongly claim that the

government must “identify [a] statute that gives the Secretary at-will

removal power over the Task Force.” Pls. Br. 10. At-will removal is the

background rule—if Congress has not provided for a for-cause removal

limitation, then “the appointing power could remove at pleasure or for such

cause as it deemed sufficient.” Reagan v. United States, 182 U.S. 419, 425

(1901) (upholding the removal of an inferior officer without cause). And

contrary to plaintiffs’ suggestions, at-will removal is not just a presumption


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for presidentially appointed officers. Instead, “the long-standing rule [is]

that in the face of congressional silence all inferior officers of the United

States serve at the discretion of their appointing officer.” Kalaris v.

Donovan, 697 F.2d 376, 381 (D.C. Cir. 1983) (at-will removal for officers

appointed by the Secretary of Labor as the Head of a Department); see also

Reagan, 182 U.S. at 243-24 (at-will removal for officer appointed by a

Court of Law).

      The Secretary’s at-will removal authority is sufficient to render the

Task Force members constitutionally subordinate. At-will removal is “a

powerful tool for control” and grants the principal officer “administrative

oversight over” inferior officers. Edmond, 520 U.S. at 664. “When it comes

to the supervision of an officer within the Executive Branch, the removal

power is perhaps even more significant than the appointment authority.”

Federal Reserve OLC Opinion, 2019 WL 11594453, at *13. Indeed, after “an

officer is appointed, it is only the authority that can remove him, and not

the authority that appointed him, that he must fear and, in the performance

of his functions, obey.” Bowsher v. Synar, 478 U.S. 714, 726 (1986).

Accordingly, just as the power to remove flows from the power to appoint,

“the power to supervise and direct is incident to the power to remove.”

Federal Reserve OLC Opinion, 2019 WL 11594453, at *8.



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      Department Heads may have other means to exercise control over

inferior officers, such as altering a subordinate’s resources, promulgating

new rules, amending the subordinate’s actions, or taking enforcement

measures themselves. Free Enterprise Fund v. Public Company

Accounting Oversight Board, 561 U.S. 477, 504 (2010). But these tools can

also be “a problematic way to control an inferior office.” Id. at 504. Thus,

in Free Enterprise, the Supreme Court severed the removal restrictions for

the Board and made its members removable at will by the Securities and

Exchange Commission. Id. at 510. That at-will removal rendered Board

members inferior officers, even though they could “take significant

enforcement actions * * * largely independently of the Commission,” and

the Commission lacked authority to pre-approve or direct the Board’s

“priorities and interven[tion] in the affairs of regulated firms (and the lives

of their associated persons).” Id. at 504-05.

      Thus, as Justice Scalia explained in his Morrison v. Olson dissent,

that case would have been far more straightforward had the independent

counsel lacked removal restrictions. Because “[i]f she were removable at

will by the Attorney General, then she would be subordinate to him and

thus properly designated as inferior.” Morrison v. Olson, 487 U.S. 654, 716

(1988) (Scalia, J., dissenting). Then-Judge Kavanaugh echoed the same



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point in his opinion in Free Enterprise, which anticipated the position

ultimately adopted by Supreme Court. As he explained, “the basic

principles underlying Article II teach that the key initial question” of

inferior officer status “is whether the officer is removable at will,” because

such removal “carries with it the inherent power to direct and supervise.”

Free Enterprise Fund v. Public Company Accounting Oversight Board, 537

F.3d 667, 707 (D.C. Cir. 2008) (Kavanaugh, J., dissenting), rev’d in

relevant part, 561 U.S. 477. Thus, officers who are removable at will by

Department Heads “may properly be considered inferior officers” because

they are subject to control by “other superior officers in the Executive

Branch chain of command.” Id. at 707 n.15.

      Plaintiffs contend that the Secretary must have authority to direct and

reject Task Force recommendations for Task Force members to be inferior

officers. Pls. Br. 12-15. As explained in our opening brief (at 24-27), and

below (at 20-25), if it is constitutionally necessary for the Secretary to have

additional supervisory authority, nothing in the statutory scheme prevents

the Secretary from declining to give a Task Force recommendation with an

“A” or “B” rating legally binding effect under 42 U.S.C. § 300gg-13(a)(1).

And plaintiffs’ proposition—that at-will removal cannot render an officer

inferior—is unsupported by their citations to Edmond and United States v.



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Arthrex, Inc., 141 S. Ct. 1970 (2021). Neither of those cases held that

officers removable at will by a Department Head could not serve as inferior

officers. Indeed, Edmond had no occasion to address at-will removal—

instead, the Supreme Court held it sufficient that the judges could be freely

removed from a “judicial assignment without cause,” and that their

decisions could receive further review. 520 U.S. at 664-65. And in Arthrex,

the Federal Circuit held that the administrative patent judges at issue

improperly exercised too much power for their station as inferior officers

and corrected that defect by rendering them removable at will. Arthrex,

Inc. v. Smith & Nephew, Inc., 941 F.3d 1320, 1337-38 (Fed. Cir. 2019). The

Supreme Court cast no doubt on that solution to the problem, but instead

held that allowing for principal officer review of the judges’ decisions

“better reflects the structure of supervision within the [agency] and the

nature of [the judges’] duties.” Arthrex, 141 S. Ct. at 1987.

      Indeed, there are a number of inferior officers for which the

Department Head’s control comes almost solely through removal. For

example, the Federal Open Market Committee is composed in significant

part by inferior officers appointed by a Department Head—the Federal

Reserve System’s Board of Governors. Federal Reserve OLC Opinion, 2019

WL 11594453, at *9-11. The Committee members are in charge of



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“expand[ing] or contract[ing] the supply of money in the United States,”

primarily “by setting the target for the federal funds rate.” Id. at *3. As the

Office of Legal Counsel explained in its thorough opinion, the committee

members appointed by the Board of Governors properly serve as inferior

officers. Although committee members have “final authority over open-

market operations,” id. at *7 (citing 12 U.S.C. § 263(a)), they are “‘directed

and supervised’ * * * by the Board of Governors, which has the authority to

remove them at will,” id.

      The same is true for the Benefits Review Board in the Department of

Labor. The Board is composed of officers appointed by the Secretary of

Labor. 33 U.S.C. § 921(b)(1). By statute, it is the Board, not the Secretary,

which issues final orders under the Black Lung Benefits Act, 30 U.S.C.

§ 932(a), and the Longshore and Harbor Workers’ Compensation Act, 33

U.S.C. § 921(b)-(c). The Board’s orders are directly reviewable in the courts

of appeals without further review by any Executive Branch officer. See, e.g.,

Huntington Ingalls, Inc. v. Director, Office of Workers’ Compensation

Programs, 70 F.4th 245, 248 (5th Cir. 2023). Yet Arthrex did not suggest

that the Board members must be principal officers—to the contrary,

Arthrex identified and distinguished these Board members, explaining that

they “appear to serve at the pleasure of the appointing department head,”



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and thus Arthrex’s framework did not prohibit the Board members from

properly serving as inferior officers. 141 S. Ct. at 1984.

            2.    If Constitutionally Necessary, The Secretary May
                  Decline To Give Task Force Recommendations
                  Legally Binding Effect

      As our opening brief explained (at 24-27), if more control by the

Secretary were constitutionally necessary, the statutory scheme permits it.

The Task Force, convened under the authority of the Public Health Service,

42 U.S.C. §§ 299(a), 299b-4(a), is “under the supervision and direction of

the Secretary,” id. § 202. And Task Force recommendations with an “A” or

“B” rating do not carry self-executing legal force—instead, those

recommended items and services must be covered only after an appropriate

minimum interval (not less than one year) established by the Secretary. Id.

§ 300gg-13(b)(1)-(2). Given that general and specific oversight, if it were

constitutionally necessary for the Secretary to refuse to give binding legal

effect to a Task Force recommendation with an “A” or “B” rating, nothing in

the statutory scheme would prohibit that exercise of “supervision and

direction.” Id. § 202.

      Plaintiffs resist this construction by emphasizing that the Task Force

is “independent and, to the extent practicable, not subject to political

pressure,” 42 U.S.C. § 299b-4(a)(6), and therefore, plaintiffs assert, the



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Task Force cannot be “subject to the ‘direction’ and ‘supervision’ of the

Secretary,” Pls. Br. 17. But a direction that a subordinate make

“independent” decisions, by itself, does not connote anything lacking in

terms of supervision. Other constitutional officers similarly are entrusted

to make “unbiased, independent judgments,” even while subject to removal

and supervision by principal officers. Kalaris, 697 F.2d at 393-94. Their

independence arises from their duties in “dispassionate decisionmaking,”

id. at 400-01, which is not unique to any particular officer but is instead

common to many. “When the Constitution requires a hearing, it requires a

fair one, one before a tribunal which meets at least currently prevailing

standards of impartiality.” Wong Yang Sung v. McGrath, 339 U.S. 33, 50

(1950).

      Accordingly, when an immigration judge or the Board of Immigration

Appeals issues a decision in a removal case, they are “required * * * to

exercise [their] own judgment” and “must exercise [their] authority

according to [their] own understanding and conscience.” United States ex

rel. Accardi v. Shaughnessy, 347 U.S. 260, 266-67 (1954). In exercising

that independent judgment, immigration judges and Board members do

not transform into principal officers—instead, they continue to properly




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serve as inferior officers appointed and overseen by the Attorney General.

Duenas, 78 F.4th at 1071-72.

      The same rule applies in hearings at the Social Security

Administration. There, administrative law judges (ALJs) adjudicate claims

for benefits and in doing so “must act neutrally,” Snead v. Barnhart, 360

F.3d 834, 838 (8th Cir. 2004), and with “complete individual independence

of action and decision,” Nash v. Califano, 613 F.2d 10, 15 (2d Cir. 1980).

Social Security ALJs thus exercise “independent judgment on the evidence

* * * free from pressures by the parties or other officials within the agency.”

Butz v. Economou, 438 U.S. 478, 513 (1978). Even so, the ALJs properly

serve as inferior officers, Rush v. Kijakazi, 65 F.4th 114, 117 (4th Cir. 2023),

because they are supervised and directed by their Department Head.

      The Task Force members—like these officers and many others—make

“independent” determinations when they act as neutral examiners of the

evidence and issue a disinterested decision on the merits of the health

benefits and efficacy of any given preventive item or service. And as

explained above, if it were constitutionally necessary, the statute can be

construed to allow the Secretary to refuse to give particular Task Force

recommendations legally binding effect for purposes of coverage under 42

U.S.C. § 300gg-13(a)(1). The Task Force’s decisional independence does



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not render them principal officers unsupervised by anyone else—it works to

ensure that the inferior officers render a neutral judgment from which a

superior can make an informed and considered decision.

      As plaintiffs recognize (at 17), the statutory provision that the Task

Force shall not be “subject to political pressure” is expressly subject to the

limiting principle that it applies only “to the extent practicable.” 42 U.S.C.

§ 299b-4(a)(6). That qualifier entails limitations that are necessary to

comport with constitutional requirements. See Texas Medical Providers

Performing Abortion Services v. Lakey, 667 F.3d 570, 581 (5th Cir. 2012)

(citing the “elementary rule that every reasonable construction must be

resorted to, in order to save a statute from unconstitutionality”). In some

instances, the Constitution may require that a superior not direct the

outcome of certain matters properly before a subordinate. Cf. Myers v.

United States, 272 U.S. 52, 135 (1926) (recognizing this possibility). But

even so, the superior “may consider the decision after its rendition” and

choose to take appropriate action. Id. 1


      1 Plaintiffs mistakenly assert that the statute cannot bear this

interpretation, citing a government filing at the summary judgment stage.
Pls. Br. 14 n.4 (citing ROA.1746). But at summary judgment, the
government did not contend that the Task Force members were
constitutional officers or that they might require additional supervision by
the Secretary to comport with separation-of-powers concerns. There was
thus no occasion to consider the doctrine of constitutional avoidance.

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     Moreover, as our opening brief explained, the Task Force would in

any event remain independent and free of political pressure in developing

and making recommendations. 2 For separation-of-powers purposes, the

only relevant constitutional control comes after the Task Force makes a

recommendation with and “A” or “B” rating. If necessary to retain

constitutional control over the Task Force, the Secretary could at that point

direct that the recommendation not become legally binding for coverage

purposes under § 300gg-13(a)(1).

     This level of supervision would definitively render the Task Force

members inferior to the Secretary, as confirmed by Morrison v. Olson.

There, the statute authorizing the independent counsel granted her “full

power and independent authority to exercise all investigative and

prosecutorial functions and powers of the Department of Justice.” 487 U.S.

at 662. Despite that “independent” authority—and even though the

independent counsel could only be removed for good cause—the Supreme

Court held that the Attorney General had “sufficient control over the

independent counsel” such that she validly served as an inferior officer. Id.




     2 The Task Force must “consider clinical preventive best practice

recommendations from” agencies within HHS and subject to the Secretary’s
direction, 42 U.S.C. § 299b-4(a)(1).

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at 696. The Secretary’s greater control here plainly alleviates any

constitutional difficulties.

      Plaintiffs also assert (at 17-18) that under 42 U.S.C. § 202, the

Secretary cannot personally direct and supervise the Public Health

Service—which includes the National Institutes of Health, the Food and

Drug Administration, the CDC, and HRSA—but instead must only act

through an Assistant Secretary.3 That is plainly incorrect. As the note to

§ 202 explains, “all functions of the Public Health Service” and its officers

and employees are vested in the Secretary. 42 U.S.C. § 202 note, at 608

(2018) (citing the Reorganization Plan).

            3.     The Secretary Properly Ratified The Task Force’s
                   Recommendations

      The premise of the district court’s adverse ratification ruling was that

the Secretary cannot adequately supervise the Task Force’s functions.

ROA.1797. That concern has been addressed by the Secretary’s

appointment of the Task Force members. As properly appointed inferior

officers who are subject to the Secretary’s constitutional oversight, their

recommendations are subject to ratification by the Secretary.



      3 See Congressional Research Service, R43304, Public Health Service

Agencies: Overview and Funding (FY2010-FY2016) (2015),
https://perma.cc/C69V-FLPX (listing HHS subagencies within the Public
Health Service).

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      Plaintiffs contend that the Secretary’s ratification based on his

“independent and considered review,” ROA.1094, is insufficient because

the Secretary must have authority to “override the Task Force’s

recommendations and decide the preventive care that private insurers must

cover,” Pls. Br. 21. But as explained above, the statute is susceptible of that

construction and can permit the Secretary to decline to give a Task Force

recommendation legally binding effect. Here, moreover, the Secretary

affirmatively chose to “affirm and ratify” the existing Task Force

recommendations and adopt them as his own. ROA.1094.

      Plaintiffs’ contention that the Secretary lacks the authority to ratify

the Task Force’s recommendations reiterates the arguments that they

unsuccessfully made in district court with respect to the Secretary’s

ratification of the recommendations of the CDC and HRSA. See ROA.559-

561. The district court rightly rejected those arguments. ROA.1793-1797.

They are equally unavailing with respect to the Task Force now that its

members have been appointed by the Secretary and are properly

understood to be constitutionally subordinate to his direction and

supervision.

      Plaintiffs mistakenly suggest that the Secretary could not have ratified

the Task Force’s recommendations without engaging in notice-and-



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comment rulemaking. Pls. Br. 24-25. Plaintiffs never made this argument

in district court when they contested the Secretary’s ratification, see

ROA.533, ROA.559-561 (plaintiffs’ summary judgment brief), ROA.1626,

ROA.1644-1650 (plaintiffs’ summary judgment response and reply), and

the district court had no occasion to consider it. That is notable because

plaintiffs raised a notice-and-comment challenge to the Task Force’s

recommendations in their original complaint. ROA.35, ROA.57-58, ¶¶ 98-

102. But after the government explained why that claim failed on the

merits, ROA.197-203, plaintiffs amended their complaint, ROA.219-245,

and elected to “abandon[]” their notice-and-comment claim, Pls. Br. 50.

      After jettisoning a notice-and-comment challenge to the Task Force

recommendations from their complaint and contesting the Secretary’s

ratification of those recommendations on other grounds, plaintiffs cannot

now— for the first time on appeal—assert a notice-and-comment challenge

to the Secretary’s ratification. This Court “will generally not countenance

arguments not raised before the district court,” and instead deems those

“arguments[s] forfeited.” McManaway v. KBR, Inc., 852 F.3d 444, 455

(5th Cir. 2017). “This rule exists for a simple reason: It is ‘an efficient

approach that allows a full consideration of all the parties’ arguments in the

district court. * * * A thorough ruling might avoid an appeal by making



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clearer the unlikelihood of appellate success based on the strengths of the

district court decision.’” Thomas v. Ameritas Life Insurance Corp., 34

F.4th 395, 402 (5th Cir. 2022).

      Plaintiffs alternatively suggest that the Task Force’s past

recommendations can never be implemented “because its members were

unconstitutionally appointed when those recommendations were made.”

Pls. Br. 16. But defective appointments are cured by proper appointments,

Edmond, 520 U.S. at 653-55, 666, and nothing prevents a properly

appointed official from ratifying or re-promulgating a decision made by a

previous officer holder if the decision is otherwise proper. See Noel

Canning v. NLRB, 823 F.3d 76, 78 (D.C. Cir. 2016) (affirming decisions

made by properly appointed officers that “essentially adopt[ed]” a previous

decision made by improperly appointed officers because the decision “was

supported by substantial evidence”); see also Opening Br. 28-29 (collecting

cases).

II.   IF THE SECRETARY CANNOT ADEQUATELY SUPERVISE TASK FORCE
      MEMBERS, THE STATUTORY RESTRICTIONS ON SECRETARIAL
      SUPERVISION SHOULD BE DECLARED SEVERABLE

      If this Court concludes that Task Force members are not subject to

constitutionally sufficient supervision by the Secretary, the correct course

would be to declare severable the portions of 42 U.S.C. § 299b-4(a)(6) that



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the Court determines unconstitutionally impede the Secretary’s authority.

Plaintiffs insist that the Court lacks this authority, but severance is the

exact response adopted by the Supreme Court in Free Enterprise, 561 U.S.

at 508-10, and Arthrex, 141 S. Ct. at 1986-88, and by this Court in other

cases. “[W]hen a portion of a statute is unconstitutional, ‘the traditional

rule is that the unconstitutional provision must be severed unless the

statute created in its absence is legislation that Congress would not have

enacted.’” United States v. Bonilla-Romero, 984 F.3d 414, 418 (5th Cir.

2020) (quoting Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2209 (2020)).

Applying that rule, the Court upholds the portions of the statute “that are

(1) constitutionally valid, (2) capable of functioning independently, and

(3) consistent with Congress’ basic objectives in enacting the statute.”

Bonilla-Romero, 984 F.3d at 418.

      As the Supreme Court has explained, when an officer wields authority

“incompatible with their appointment by the Secretary to an inferior

office,” there is no requirement for them to be appointed as principal

officers. Arthrex, 141 S. Ct. at 1985. To the contrary, “the appropriate way

to resolve this dispute given [a] violation of the Appointments Clause” is to

“disregard[] the problematic portions” of the statute “while leaving the

remainder intact.” Id. at 1986 (quotation marks omitted). Thus, by



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severing any portions that unconstitutionally limit the Secretary’s

supervisory authority, the Task Force “would properly function as inferior

officers.” Id. at 1987. That is why in Arthrex, the Supreme Court severed

the statutory restrictions on a principal officer’s authority to review the

decisions of administrative patent judges, thus rendering those judges

properly serving inferior officers. Id. Earlier in the case, the Federal

Circuit had employed a similar severance, holding invalid the removal

restrictions for those judges to ensure they could properly serve as inferior

officers. Id. While the Supreme Court chose to sever a different part of the

statute, both courts provided a remedy that made the officers appropriately

subordinate to a principal officer.

      The Supreme Court’s decision in Free Enterprise is to the same effect.

There the Court identified a separation-of-powers violation in that the

Board members wielded “executive power without the Executive’s

oversight,” making them insufficiently accountable to the President. Free

Enterprise, 561 U.S. at 498. The Court redressed that problem by severing

the Board members’ removal restrictions, thus preserving the “clear and

effective chain of command,” which allows the public to “determine on

whom the blame or the punishment of a pernicious measure * * * ought

really to fall.” Id. So accountable, the Board members properly served as



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inferior officers and the Court had no trouble rejecting the petitioners’

argument that they must be “principal officers requiring Presidential

appointment with the Senate’s advice and consent.” Id. at 510. Applying

the same logic, the D.C. Circuit likewise severed removal restrictions to

ensure that officers properly serve as inferior officers. Intercollegiate

Broadcasting System, Inc. v. Copyright Royalty Board, 684 F.3d 1332,

1341 (D.C. Cir. 2012) (“Once the [removal] limitations * * * are nullified,

they would become validly appointed inferior officers.”).

      Thus, for severance, the question is whether “Congress, faced with the

limitations imposed by the Constitution,” Free Enterprise, 561 U.S. at 509,

would “have preferred what is left of its statute to no statute at all,” Ayotte

v. Planned Parenthood of Northern New England, 546 U.S. 320, 330

(2006). Here, of course, the Affordable Care Act is “fully operative as a law”

if the offending portions of § 299b-4(a)(6) were declared severed, and so

“the invalid part may be dropped.” Medical Center Pharmacy v. Mukasey,

536 F.3d 383, 401 (5th Cir. 2008). That presumption of severance and its

application here “may be overcome only by ‘strong evidence,’” id. at 402,

which plaintiffs fail to produce. Accordingly, “it is appropriate to sever as

necessary.” Bonilla-Romero, 984 F.3d at 418.




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      At bottom, plaintiffs contest severance because they “would remain

subject to the unwanted coverage mandates.” Pls. Br. 4; see also id. at 45.

But the sole basis for the district court’s holding was that the preventive

services requirements were promulgated by officers who had not received a

constitutional appointment. Once that Appointments Clause claim is

resolved—with the Task Force members appropriately subject to Secretarial

appointment and oversight, and their recommendations properly ratified

by the Secretary—there is no other basis to invalidate the government’s

actions pursuant to 42 U.S.C. § 300gg-13(a), or to hold that third-party

health plans and issuers need not comply with those statutory

requirements. The mere fact that plaintiffs wish other health plans were

available is not a distinct Article III injury. See ROA.2115-2118 (dismissing

such claims for lack of standing).

      Plaintiffs note that severance does not address the Task Force’s

“failure to recommend coverage of items or services,” Pls. Br. 38, but they

do not explain why this point would be constitutionally significant. If the

Task Force determines that an item or service should not receive an “A” or

“B” rating, then no health plan is required to cover it under § 300gg-

13(a)(1) and there is no exercise of federal authority on any entity or

individual. Indeed, it is common throughout government that officers and



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employees may take actions that lack any adverse coercive effect and are

generally not subject to further review. For example, Social Security

claimants who present a qualifying claim begin receiving benefits after an

initial determination without further review by another government

official—it is only determinations adverse to claimants that are immediately

subject to further review within the agency. See 20 C.F.R. §§ 404.902-.907,

404.1805.

      Plaintiffs’ assertion that the Supreme Court alone has the power to

declare a statutory provision severable, see Pls. Br. 44-45, rests on a basic

misunderstanding of the Declaratory Judgment Act. That statute allows

“any court of the United States” to “declare the rights and other legal

relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a). Thus, a district

court can declare that a statute is constitutionally infirm and that the

offending portion of the statute must be severed. Likewise, this Court can

and has declared severable unconstitutional portions of a statute to resolve

constitutional concerns, even though a party might have wished for greater

relief. Bonilla-Romero, 984 F.3d at 417-19 (severing unconstitutional

portion of a criminal sentencing statute and affirming the sentence

imposed).



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III. AT A MINIMUM, THIS COURT SHOULD REVERSE THE DISTRICT
     COURT’S UNIVERSAL REMEDIES

      A.    The Balance Of Equities And The Public Interest
            Preclude The District Court’s Universal Remedies

      The district court’s judgment extinguished the rights of 150 million

Americans—not parties to this case—who are otherwise protected by the

statutory requirement that group health plans and insurers governed by

§ 300gg-13 must cover without cost-sharing preventive services with an “A”

or “B” rating in the current Task Force recommendations. Unsurprisingly,

the leading public health organizations and over 100 public health deans

and scholars have urged this Court to reverse the district court’s universal

remedies. As amici explain, the final judgment encompasses dozens of vital

services, including, for example, statins to prevent cardiovascular;

screenings for lung and colon cancer; and aspirin to prevent preeclampsia

deaths in pregnant women and pre-term births. See, e.g., American Public

Health Association and Public Health Deans and Scholars Amicus Br. 7-15,

Dkt. 187 (5th Cir. June 27, 2023). The balance of equities and public

interest preclude the district court’s universal remedies.

      The government has not appealed the plaintiff-specific relief entered

by the district court: a declaration of the parties’ rights and a plaintiff-

specific injunction. ROA.2132. And plaintiffs previously conceded that this



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plaintiff-specific relief fully redressed the injuries of Braidwood

Management, which has a self-insured plan. Pls. Resp. to Mot. for a Partial

Stay of Final Judgment Pending Appeal 2, Dkt. 66 (5th Cir. May 5, 2023).

“[T]hat is because Braidwood’s injuries arose from its inability to determine

the coverage in its self-insured plan”—“an injury that was fully redressed by

declaratory and injunctive relief that restrains the defendants from

enforcing the unlawful preventive-care coverage mandates against

Braidwood.” Id. (emphasis added).

      Plaintiffs assert (at 57) that universal remedies are necessary to

“induce insurers to offer” the individual plaintiffs—a handful of uninsured

Texas residents who object for religious reasons to buying a plan that

covers certain services—the plans that these plaintiffs would prefer. At

most, that argument might support a tailored injunction that prevents the

federal government from enforcing the statute’s coverage requirement

against a Texas insurer that furnished these plaintiffs with such health

coverage. But the individual plaintiffs failed even to demonstrate standing

to seek such a tailored injunction.

      Standing is “‘substantially more difficult’ to establish” when the

plaintiff “is not himself the object of the government action or inaction he

challenges.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 562 (1992). And



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at the final judgment stage, the plaintiff must substantiate standing

allegations with evidence. Id. at 561-62. Here, the plaintiffs’ declarations

showed that it is speculative whether they would buy insurance even if

plans without the objected-to coverage were offered. Mr. Starnes and Mr.

Kelley stopped buying insurance in 2016 in part “because the premiums

had become too expensive,” and they stated only that they would “seriously

consider” buying insurance if plans without objectionable coverage were

offered. ROA.2066-2067, ¶¶ 5-7; ROA.2068-2069, ¶¶ 5, 7-8. Mr. Kelley

stopped buying insurance for Kelley Orthodontics in part because “the

premiums had become too expensive” and “several of [his] employees

asked [him] to drop coverage because they were unable to enroll in their

husbands’ much better plans as long as [he] was offering coverage to them

as part of their job.” ROA.2068-2069, ¶ 6. Mr. Maxwell and his wife have

not had insurance since he left a job in 2021 and “cannot guarantee that

[he] would once again purchase health insurance in the absence of the

preventive-care coverage mandates.” ROA.2070-2071, ¶¶ 5-7. Mr. Starnes

and Mr. Kelley likewise acknowledged that they “cannot guarantee” that

they would buy an insurance plan even if the district court ruled in their

favor. ROA.2067, ¶ 7 (Starnes); ROA.2069, ¶ 8 (Kelley).




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      “Such ‘some day’ intentions—without any description of concrete

plans, or indeed even any specification of when the some day will be—do

not support a finding of the ‘actual or imminent’ injury” that the Supreme

Court’s “cases require.” Lujan, 504 U.S. at 564. Furthermore, plaintiffs

submitted no evidence showing that any Texas insurer is willing to sell

them the bespoke plans that they would prefer. 4

      In any event, the individual plaintiffs’ claims certainly provide no

basis to uphold the district court’s nationwide injunction and vacatur of all

relevant agency actions since 2010. At the very least, then, the district court

should have confined any injunction to barring defendants from enforcing

§ 300gg-13(a)(1) against Texas insurers that provide insurance without the

objected-to coverage to the individual plaintiffs. Such an injunction would

have remedied their asserted injuries without jeopardizing coverage under

federal law of all other Task Force recommended preventive services for

millions of other Americans.




      4 The record shows that all qualified health plans in Texas were

already covering preexposure prophylaxis drugs as of 2019, see ROA.1544-
1545, before the Task Force’s “A” rating took effect in 2021, see ROA.40-41,
¶ 25.

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      B.    The APA Does Not Allow A District Court To Ignore
            The Balance Of The Equities

      The district court erred in failing to consider the substantial harms to

150 million Americans when it issued a universal vacatur of all agency

action to implement and enforce coverage of preventive items and services

recommended by the Task Force with an “A” and “B” rating, and further

issued a nationwide injunction of any action to implement and enforce

those coverage requirements. See ROA.2121-2129. Plaintiffs make no

attempt to defend these universal remedies as equitable or fair to absent

parties; instead, plaintiffs contend that universal vacatur is compelled

“regardless of the balance of equities or the public interest.” Pls. Br. 53

(capitalization altered). Plaintiffs identify no authority for that

extraordinary proposition, which is contrary to precedent and bedrock

principles of equity.

      Plaintiffs insist (at 53-54) that the “set aside” language in § 706 of the

APA compelled the district court to issue a universal remedy. As an initial

matter, that issue is not before the Court because plaintiffs chose to

abandon their lone APA claim when they amended their complaint, see

supra pp. 27-28. APA claims must challenge “final agency action,” 5 U.S.C.

§ 704, meaning “an identifiable ‘agency action,’” Lujan v. National Wildlife

Federation, 497 U.S. 871, 890 (1990) (emphasis added). Broadside


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challenges to a conglomeration of varied government actions are not

permissible because they are “not an identifiable ‘final agency action,’” and

plaintiffs seeking relief under the APA must challenge “some specific order

or regulation.” Id. at 890 n.2.

      Plaintiffs’ complaint made no attempt to challenge “circumscribed

[and] discrete” agency actions as required by the APA. Louisiana v. United

States, 948 F.3d 317, 321 (5th Cir. 2020) (affirming dismissal on this basis

because “Lujan ‘announced a prohibition on programmatic challenges’”).

Instead, the complaint alleged that the Task Force violated the Constitution

in various ways and urged that unspecified agency actions must be vacated.

ROA.231-243. The operative complaint’s constitutional challenges were

aimed at the statute—not particular agency action. As plaintiffs’ counsel

has explained, when the constitutionality of a statute is challenged, “[a]ll

that a court can do is announce its opinion that the statute violates the

Constitution, decline to enforce the statute in cases before the court, and

instruct executive officers not to initiate enforcement proceedings.”

Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933,

941 (2018) (footnotes omitted). To the extent a plaintiff seeks to prevent a

defendant from relying on agency actions implementing a purportedly

unconstitutional statute, any ancillary relief applicable to those actions



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must likewise be limited to preventing enforcement with respect to the

relevant plaintiffs.5

      Plaintiffs chose not to bring an APA claim and instead proceeded with

claims directly under the Constitution. When that is permissible, it does

not compel plaintiffs to follow the APA’s pathways. See Free Enterprise,

561 U.S. at 489-91 (allowing plaintiffs to bring freestanding constitutional

claims in district court). But claims under the Constitution seek “equitable

relief.” Id. at 491 n.2; see also Armstrong v. Exceptional Child Center, Inc.,

575 U.S. 320, 327 (2015) (explaining that suits directly under the

Constitution are “the creation of courts of equity” consistent with “a long

history of judicial review”). And equitable claims require a court to

“explore the relative harms” and consider “the interests of the public.”

Trump v. International Refugee Assistance Project, 582 U.S. 571, 580

(2017) (per curiam). The district court failed to do so here, and its order of

universal vacatur must be vacated for that reason alone.

      Furthermore, even if APA-specific remedies were available to

plaintiffs, the APA preserves “the power or duty of the court to * * * deny




      5 The only discrete agency action identified by plaintiffs was limited to

their claim under the Religious Freedom Restoration Act, ROA.243, and the
government has not appealed the district court’s plaintiff-specific relief on
that claim, ROA.2132.

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relief on any * * * equitable ground.” 5 U.S.C. § 702(1). Congress enacted

the APA against a background rule that statutory remedies should be

construed in accordance with “traditions of equity practice.” Hecht Co. v.

Bowles, 321 U.S. 321, 329 (1944). Indeed, the relief available in an action

under the APA, governed by 5 U.S.C. § 703, provides for traditional forms

of equitable actions and relief, such as “declaratory judgments or writs of

prohibitory or mandatory injunction.” There is no sound reason to

conclude that Congress “meant to upset the bedrock practice of case-by-

case judgments with respect to the parties in each case” by adopting the

“unremarkable” “set aside” language in 5 U.S.C. § 706. Arizona v. Biden,

40 F.4th 375, 396 (6th Cir. 2022) (Sutton, C.J., concurring). Indeed,

confining any equitable relief to no more than what is necessary to remedy

the plaintiff’s actual or imminently threatened injury is required by both

equitable principles and Article III. Accordingly, plaintiffs’ counsel has

acknowledged that “[t]he authority to ‘set aside’ an agency’s action * * *

does not resolve whether courts should extend relief beyond the named

litigants.” Mitchell, supra, at 1014.

      The Supreme Court has cautioned that when interpreting a statute

vesting authority in an Executive Branch agency, “both separation of

powers principles and a practical understanding of legislative intent make



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[the Court] ‘reluctant to read into ambiguous statutory text’” an extravagant

delegation of power. West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022).

Such caution is equally appropriate when interpreting a statute that vests

authority to review agency action in district courts, which by constitutional

design are insulated from political accountability. The litany of

extraordinary consequences that flow from universal remedies is well

catalogued. See, e.g., Arizona, 40 F.4th at 395-98 (Sutton, C.J.,

concurring). The language in § 706 authorizing a district court to set aside

agency action is “a wafer-thin reed on which to rest such sweeping power.”

Alabama Association of Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021) (per

curiam).6

      As three Justices explained shortly after our opening brief was filed,

courts traditionally provide “party-specific relief, directing the defendant to

take or not take some action relative to the plaintiff. If the court’s remedial

order affects nonparties, it does so only incidentally.” United States v.

Texas, 143 S. Ct. 1964, 1980 (2023) (Gorsuch, J., concurring in the




      6 As noted in our opening brief (at 45 n.5), we recognize that this

Court’s precedents hold that the APA permits vacatur of agency action, and
the government continues to “dispute[] this premise.” United States v.
Texas, 143 S. Ct. 1964, 1980 (2023) (Gorsuch, J., concurring in the
judgment) (explaining that the reasons for the government’s position “are
plenty and serious enough to warrant careful consideration”).

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judgment, joined by Thomas and Barrett, JJ.). Plaintiffs’ theory is founded

on a faulty premise that Congress enacted the APA to “overthrow the

bedrock practice of case-by-case judgments with respect to the parties in

each case and vest courts with a new and far-reaching remedial power” of

compelled vacatur, without any consideration for the equities or whether

such a remedy is warranted. Id. at 1981 (quotation marks omitted). 7

      But plaintiffs’ argument is incompatible with the Supreme Court’s

repeated instructions that remedies “must of course be limited to the

inadequacy that produced the injury in fact.” Lewis v. Casey, 518 U.S. 343,

357 (1996). Any court-ordered remedy “must not be ‘more burdensome [to

the defendant] than necessary to redress the complaining parties.’” Texas,

143 S. Ct. at 1985 (Gorsuch, J., concurring) (quoting Califano v. Yamasaki,

442 U. S. 682, 702 (1979)). An order of vacatur without consideration for

the equities can improperly “sweep up nonparties who may not wish to

receive the benefit of the court’s decision,” id., in addition to the other

detriments that attend to vacatur. See id. (explaining that vacatur “can


      7 The article that plaintiffs cite (at 47 n.26) explained that “the APA’s

embrace of the appellate model reflected the contemporaneous fact that
agencies overwhelmingly operated through adjudication, not rulemaking,”
and found “nothing to the argument that the APA, by its terms, strips
courts of the authority to leave procedurally defective agency rules intact.”
Nicholas Bagley, Remedial Restraint in Administrative Law, 117 Colum. L.
Rev. 253, 258, 309 (2017).

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stymie the orderly review of important questions, lead to forum shopping,

render meaningless rules about joinder and class actions, and facilitate

efforts to evade the APA’s normal rulemaking processes”). In sum, when

considering an APA claim, as in all other contexts, “an appellate court

should not hesitate to hold that broader relief is an abuse of discretion”

where “party-specific relief can adequately protect the plaintiff’s interests.”

Id. at 1986.8

      In the context of vacating court judgments, the “Supreme Court made

clear and emphasized that vacatur is an ‘extraordinary’ and equitable

remedy * * * to be determined on a case-by-case basis, governed by facts

and not inflexible rules.” Staley v. Harris County, 485 F.3d 305, 310 (5th

Cir. 2007). Those same considerations apply to the wholesale vacatur of

the Executive’s actions to fulfill Congress’s directives, which “suggest[s]

some measure of caution on the Third Branch.” Lebron v. Rumsfeld, 670

F.3d 540, 548 (4th Cir. 2012).


      8 This case’s caption illustrates one of the many problems with

universal vacatur. Joel Miller and Gregory Scheideman are listed as
“Plaintiffs–Cross-Appellants” because the district court dismissed their
claims for lack of standing. ROA.2117-2118, ROA.2131. Although both
Miller and Scheideman are among the appellants, ROA.2141, plaintiffs’
principal brief makes no argument that these two plaintiffs have standing.
By entering orders of universal vacatur and a nationwide injunction, the
district court gave Miller and Scheideman relief on claims that the district
court recognized they could not bring themselves.

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      This Court’s precedents thus treat vacatur of an agency action as an

equitable remedy. For example, while “vacatur of an agency action is the

default rule in this Circuit,” Cargill v. Garland, 57 F.4th 447, 472 (5th Cir.

2023) (en banc) (plurality op.), remand without vacatur is appropriate if

“there is at least a serious possibility that the agency will be able to

substantiate its decision given an opportunity to do so,” Alliance for

Hippocratic Medicine v. FDA, 78 F.4th 210, 255 (5th Cir. 2023). A decision

to vacate does not occur as a matter of course, but instead “depends on ‘the

seriousness of the order’s deficiencies (and thus the extent of doubt

whether the agency chose correctly) and the disruptive consequences of an

interim change that may itself be changed.’” Allied-Signal, Inc. v. U.S.

Nuclear Regulatory Commission, 988 F.2d 146, 150-51 (D.C. Cir. 1993).

      Consistent with Allied-Signal, this Court held in similar cases that

universal vacatur was unwarranted where the agency could likely take the

same substantive action. Texas Association of Manufacturers v. U.S.

Consumer Product Safety Commission, 989 F.3d 368, 389 (5th Cir. 2021)

(declining to vacate agency action, citing Allied Signal); Central & South

West Services, Inc. v. EPA, 220 F.3d 683, 692 (5th Cir. 2000) (same).

Indeed, plaintiffs acknowledge (at 54) that this Court found it appropriate

to “remand, without vacatur,” a final rule when “vacating would be



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‘disruptive.’” Central & South West Services, 220 F.3d at 692. 9 That

principle forecloses plaintiffs’ contention that the APA leaves a district

court with no choice but to vacate any agency action that it finds unlawful.

      In their appellate briefs, plaintiffs do not take issue with the

substance of the Task Force’s recommendations. They do not, for example,

dispute that the Task Force rightly assigned an “A” or “B” rating to dozens

of vital items and services, such as statins to prevent deadly cardiovascular

disease, screenings for cancer, and aspirin to prevent preeclampsia deaths

in pregnant women and pre-term births. The only error identified by the

district court was the Task Force’s method of appointment. As explained

above, the Secretary has now appointed the Task Force members and

ratified their past “A” and “B” recommendations. And going forward, the

Secretary may (if constitutionally necessary) take any steps needed to

ensure that the Task Force recommendations do not have legally binding

effect over his objection. Thus, there is no conceivable basis to extinguish




      9 Other courts of appeals likewise have declined to issue vacatur

orders where doing so would have deprived many people of electricity,
California Communities Against Toxics v. EPA, 688 F.3d 989, 993-94 (9th
Cir. 2012) (per curiam), or when vacatur might have endangered the
“obvious need for the TSA to continue its airport security operations
without interruption,” Electronic Privacy Information Center v. DHS, 653
F.3d 1, 11 (D.C. Cir. 2011).

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the rights of 150 million Americans to continue receiving coverage of vital

preventive services under federal law as Congress mandated.

IV.   PLAINTIFFS’ CROSS-APPEAL

      A.    The District Court Correctly Rejected Plaintiffs’
            Challenges To The CDC And HRSA Recommendations

      The district court correctly rejected plaintiffs’ Appointments Clause

challenge recommendations made by the CDC HRSA. ROA.1793-1797.

Although plaintiffs alleged that these recommendations had been issued by

improperly appointed officers, ROA.1793, the district court found it

unnecessary to address the method of appointment because the Secretary

had ratified those recommendations as his own, ROA.1094. Consistent

with the decisions of many courts of appeals, plaintiffs’ claims failed

because “a properly appointed official’s ratification of an allegedly improper

official’s prior action * * * resolves the claim on the merits by ‘remedying

the defect’ (if any) from the initial appointment.” ROA.1793-1794

(quotation marks omitted). Because the Secretary may “supervis[e] and

direct[],” 42 U.S.C. § 202, the CDC and HRSA to issue or reject

recommendations, the Secretary could properly ratify recommendations

made under that delegated authority, ROA. 1794-1795.

      On appeal, plaintiffs have not raised an Appointments Clause

challenge to the CDC Director or to the HRSA Administrator. See Pls.


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Br. 57-60. It is thus immaterial that those officers exercise “significant

authority pursuant to the laws of the United States,” id. at 59, because those

individuals properly serve as inferior officers subject to the Secretary’s

plenary supervision and at-will removal. 10

      Even if there were a defect in their appointment, the district court

correctly explained that the Secretary took appropriate remedial action by

ratifying their preventive service recommendations. ROA.1795. That

ratification was proper because both the CDC and HRSA are “part of the

Public Health Service” and therefore “‘under the supervision and direction

of the Secretary.’” ROA.1794 (quoting 42 U.S.C. § 202). Neither the CDC

nor HRSA have any statutory limitations on Secretarial review, and, as the

district court held, the Secretary may direct the CDC or HRSA to issue

specific recommendations that will be covered by the preventive services

provision in 42 U.S.C. § 300gg-13(a)(2)-(4). ROA.1794-95. That is because

the HRSA Administrator exercises only “[d]elegations of [a]uthority” from

the Secretary, 47 Fed. Reg. 38409, 38424 (Aug. 31, 1982), and the

Administrator is thus “answerable to the Secretary,” ROA.1795 (citing 47


      10 Congress recently amended the method of appointment for future

Directors of the CDC, and beginning in 2025 the Director will be appointed
by the President with Senate confirmation. Consolidated Appropriations
Act, 2023, Pub. L. No. 117-328, Div. FF, Title II, § 2101(a)-(b), 136 Stat.
4459, 5706-09 (2022).

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Fed. Reg. at 38410). Likewise, the CDC Director “exercises delegated

authority from the Secretary,” ROA.1794 (citing 42 U.S.C. §§ 243, 247b),

and a CDC recommendation only takes effect “after it has been adopted by

the Director” under that delegated authority, ROA.1794-1795 (citing 45

C.F.R. § 147.130). There is thus no doubt that the Secretary’s ratification

satisfies the prerequisites that plaintiffs urge, that in order to ratify the

Secretary must “have lawfully delegated authority to undertake the act he is

seeking to ratify.” Pls. Br. 23. 11

      Plaintiffs contend (at 59) that ratification cannot validate previous

actions, but that is precisely how ratification works. Ratification “extends

to the whole of the act—it goes back to its inception and continues to its

legitimate end” and is therefore “retroactive and equivalent to a prior

authority.” 1 Floyd R. Mechem, Treatise on the Law of Public Offices and


      11 Plaintiffs’ assertion that the statute “gives [the CDC] and HRSA

alone the authority to issue the ‘recommendations’ and ‘guidelines’ that
bind private insurers,” Pls. Br. 57, rests on a misunderstanding of Little
Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.
2367, 2381 (2020), which used “HRSA” as a shorthand but recognized that
the statutory authority at issue was exercised by Department Heads. See id.
at 2372 (explaining that “the Departments of Health and Human Services,
Labor, and the Treasury (Departments)—which jointly administer the
relevant [statutory] provision—exempted certain employers who have
religious and conscientious objections from this agency-created mandate”)
(footnote omitted); see also, e.g., id. at 2377 (discussing 82 Fed. Reg.
47792, 47812 (Oct. 13, 2017), which was signed by Department officials
exercising authority delegated by the Secretaries).

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Officers § 557, at 361 (1890); see also Advanced Disposal Services East,

Inc. v. NLRB, 820 F.3d 592, 602, 606 (3d Cir. 2016) (affirming ratification

“nunc pro tunc”). In doing so, ratification does not prejudice the rights of

third parties, see Mechem, supra, at 361, and the government makes no

argument that any party must or will incur any liability based on a

retroactive application of the ratified recommendations.

      B.    The District Court Correctly Dismissed Plaintiffs’
            Nondelegation Challenge

      Plaintiffs concede that their nondelegation challenge “is foreclosed by

Big Time Vapes, Inc. v. FDA, 963 F.3d 436 (5th Cir. 2020),” Pls. Br. 60, and

the district court correctly dismissed that claim, ROA.1810-1815.




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                              CONCLUSION

      The Court should reverse the district court’s judgment insofar as it

held that the statutory provision concerning preventive services covered

under 42 U.S.C. § 300gg-13(a)(1) suffered from an Appointments Clause

defect. If the Court concludes that there was an Appointments Clause

defect, then it should sever the restrictions in 42 U.S.C. § 299b-4(a)(6) with

respect to the HHS’s Secretary’s review over Task Force recommendations

that may be given binding effect under 42 U.S.C. § 300gg-13(a)(1) and (b).

At a minimum, the Court should reverse the district court’s universal

remedies.

      As to plaintiffs’ cross-appeal, the Court should affirm paragraphs 2

and 4 of the district court’s judgment.




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                       CERTIFICATE OF SERVICE

     I certify that on September 29, 2023, I filed a copy of this brief with

the Clerk of Court for the Fifth Circuit Court of Appeals through the Court’s

CM/ECF system, which will serve counsel for all parties.

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     This brief complies with the type-volume limit of Federal Rule of

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